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1

2       ◼ PETER SZANTO
     11 Shore Pine
3    Newport Beach CA 92657
     949-887-2369
4
                                        United States District Court
5                                         in and for the District of Oregon
                                                1000 SW Third Ave, Portland ORE 97204
6

7
                                                                    # 3:19-cv-2043 SI
     Peter SZANTO
8
                                                               From US Bankruptcy Court
9        Involuntary Debtor, Petitioner
                                                                       District of Oregon
10                                                                Core Case - 16-bk-33185
11                                                             Non-Core Case - 16-ap-3114
       vs.
12

13                                                          Appellant / Debtor’s Notice of
        Evye Szanto, et al,
14                                                                 Motion and Motion to
15                                                                  Extend Time to File
16                    Creditors, Respondents                   Appellant’s Opening Brief
17

18
                      ORAL ARGUMENT IS
                           REQUESTED
19

20

21
             May it please this Honorable Court.
22

23                         1. Certification in Compliance with Local Rule 7-1(a)
24
                    This Court’s Motion Practice rule requires pre-motion party conferral. On
25
     January 7, 2021 Debtor / Appellant telephoned contra party counsel in case 16-ap-3114,
26   Mr. Henderson. All of the calls went to voice mail or message taking para-legals. Debtor
27   / Appellant left messages asking for a return call as to stipulation to the within matters
     could discussed.
28
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1

2          As of the close of business on January 11, 2021 debtor had received no calls from
3    any of the counsel at Mr. Henderson’s firm. Therefore, pursuant to LR 7-1(a)(1)(B),

4
     opposing counsel did not confer with Debtor / Appellant thus necessitating this motion.

5

6
                                       2. NOTICE
7
           To the respondents and the Court, please take NOTICE !!, Debtor / Appellant
8
     herein does notice, gives notice and serves notice that he is petitioning for an extension
9
     of time to file Appellant’s Opening Brief.
10

11
            As a matter of fact, because the Court decided deadlines, this is Appellant’s 1st
12
     extension request in this Appeal.
13

14

15                                       3. FACTS
16
            This Appeal comes to this Court from the Bankruptcy court’s Memorandum
17
     Opinion [EXHIBIT A].
18

19           After that opinion was filed, Appellant filed Objections to the Findings of Fact
20   [EXHIBIT B].

21
             Appellant’s objections as to this non-core proceeding came to this Court under
22
     28 USC § 157(c)(1) which provides:
23

24           A bankruptcy judge may hear a proceeding that is not a core
             proceeding but that is otherwise related to a case under title 11.
25           In such proceeding, the bankruptcy judge shall submit proposed
             findings of fact and conclusions of law to the district court, and
26           any final order or judgment shall be entered by the district judge
             after considering the bankruptcy judge’s proposed findings and
27
             conclusions and after reviewing de novo those matters to which any
             party has timely and specifically objected.
28
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1

2              So far, this Court has not entered
3
            any final order or judgment . . .               after considering the bankruptcy
4
            judge’s proposed findings and conclusions and after reviewing de
5           novo those matters to which any party has timely and specifically
            objected (ibid)
6

7
               The 28 USC § 157 law does not automatically extend time to file appeal. For
8    that reason, Appellant also filed a timely Notice of Appeal.
9
                  Only today, January 11, 2021, did Appellant realize that his [EXHIBIT B]
10
     objections had been filed in this case as [DOCKET ENTRY12-1].
11

12                Appellant is uncertain as to the significance of that filing into this Appeal,
13   because the objections are, as a matter of law preliminary to any appeal, because no

14
     judgment from this Court has been entered as to the Bankruptcy court’s opinion.

15
                  Likewise, Appellant is uncertain whether Appeal lies from this Court’s 28 USC
16
     § 157(c)(1) review. Also, the [EXHIBIT B] paper was constrained by the Bankruptcy
17   court’s 20 page limitation (and Appellant would seek to append that paper).
18
                  Therefore, preliminary matters exist which would affect the mode and manner
19
     of the continuation of Appeal herein.
20

21                 As a matter of suggestion, Appellant would be of the consideration that a
22   decision as to the Appellant’s objections would need to precede further progress of this
     Appeal.
23

24
                   Further to complicate completion of the Opening Brief, Appellant previously
25
     apprised this Court of the death of his wife [EXHIBIT C, preliminary Death Certificate is
26   attached].

27

28
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1

2                 Since that previous contact, Appellant’s mental state is deteriorating rapidly
3    [EXHIBIT D]. And the suggestion of Appellant’s suicide is not referenced jokingly.

4
                   Thereupon, Appellant would pray the Court’s assistance as to the briefing
5
     required in this Appeal (IE, whether the Court will assess the current submissions,
6
     whether the court will order further elaboration - since Appellant was constrained by
7    the 20-page limitation - or some other procedure).

8
                   As an additional problem with the Appeal at present is the fact that the
9
     Bankruptcy court’s EXHIBITS (as indicated by its lettering) have not been supplied with
10
     the opinion. That is, based on reading the opinion today, and knowing what the exhibits
11   should be, Appellant believes there has been some mix-up or error with the exhibits
12   such that this Court would be misled attempting to decipher the text and the references
     to, what are, incorrect exhibits.
13

14
                   Lastly, because Appellant is still attempting to resolve his wife’s internment,
15   his ability to focus and concentrate on his Opening Brief is highly constrained. Appellant
16   is working diligently to resolve the issues raised by his wife’s death, but those are very

17   challenging and filled with grief.

18

19
                                            4. MEMORANDUM
20

21                   FRCP 6(b) addresses extensions of time:

22
           “(1) In General. When an act may or must be done within a
23                  specified time, the court may, for good cause, extend
                     the time:
24

25                         (A)     with or without motion or notice if the court
                                 acts, or if a request is made, before the
26
                                 original time or its extension expires”
27
                    Appellant has found no local rule which alters FRCP 6.
28
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2

3                   The current due date of the Opening Brief is January 11, 2021. The within

4    application is being filed on January 11, 2021.

5
                   Thus, since the motion is made prior to the due date of the Opening Brief, the
6
     only requirement for extension is good cause.
7

8
                  Here, the extension request seeks until March 9, 2021 to complete the
9
     Opening Brief – or such other briefing as the Court may advise or apprise.
10

11

12
     .
13
                              a. Good Cause – Complexity of the Issues
14

15

16           The issues in the appeals before this Court are complex and lengthy. The need

17   to communicate clearly increases the time needed for proper brief completion.

18
             One measure of good cause is to project matters to be presented in light of the
19
     complexity of the issues, because that is the only way in which the facts and law of a
20   case can be fully developed and be competently applied to one-another. Kifafi v. Hilton
21   Hotels Retirement Plan (2011) 826 F.Supp. 2nd 55, 58.

22
                  Here, Appellant contends that it is good cause for an extension of time to file
23
     his Opening Brief because he seeks fully to develop all of the complex issues of the
24   Szanto family cases.
25

26          Thereupon, Appellant asks extension, properly to perfect the Opening Brief.

27

28
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2

3                         b. Decision on Merits Rather than Technicalities is

4                                        Good Cause for Extension

5

6                 The U.S. Supreme Court has directed Federal Courts to decide cases on their
     merits, not constraining technicalities. Foman v Davis (1962) 371 U.S. 178, 182 accord
7
     Conley v. Gibson, (1957) 355 U.S. 41,47.
8

9             The standard of the 9th Circuit Court of Appeals’ procedure for weighing merits
     versus technicalities has been expressed as:
10

11          This court “has a duty to ensure that pro se litigants do not lose their right to a

12          hearing on the merits of their claim due to ignorance of technical procedural
            requirements.”
13

14                  Balistreri v. Pacifica Police Department (1990) 901 F.2nd 696, 699

15                Here, the most onerous constraining technicality is time. Everyone works at a

16   different pace. And with the writing of briefs, sometimes thoughts and their expression
     do not coalesce at the quickest desired pace. That is what has happened. Appellant has
17
     worked steadily and diligently, but unfortunately was unsuccessful in completion of the
18
     Opening Brief.
19

20          ‘c. Good Cause: Appellant’s Constrained Access to Research Material

21
                  Before Appellant’s money and property were improperly expropriated by the
22   Bankruptcy court, he was able to afford the online research offered by WESTLAW.
23

24
                  Because Appellant barely has enough money for food, soap, medicine and
     other basic necessities of life, he can no longer afford WESTLAW research.
25

26
                  Until the Covid crisis, Appellant used law libraries either provided by various
27   counties or local law schools to do his research. With the Covid crises, all these facilities

28   are now closed.
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1

2                 For these reasons, Appellant’s access to research materials is very severally
3    limited. This limitation adds a further level of difficulty to brief completion, which remains

4
     a continuing challenge to Appellant. And dramatically increases Appellant’s time to finish
     research and analysis necessary for proper and efficient briefing.
5

6

7
                                              5. Conclusion
8

9                 Extension is prayed until March 9, 2021 to prepare the Opening Brief, not

10   merely for Appellant to complete his work, but also for this Court to proceed as to the

11   rules related to 28 USC § 157(c)(1).

12

13                 Most Respectfully,

14
                    Dated 11 January 2021 /s/ signed electronically Peter Szanto
15

16

17

18

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26

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28
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2
                                    PROOF OF SERVICE
3

4
     My name is Maquisha Reynolds, I am over 21 years of age and not a party to the
5
     within action. My business address is PO Box 14894, Irvine CA 92623.
6

7
         On the date indicated below, I personally served the within: Motion
8    on the following by placing the within document in postage pre-paid envelope
9    addressed as:

10                           1) Nicholas J. Henderson
                                   Motschenbacher & Blattner
11                                 117 SW Taylor St., Suite 300
                                   Portland, OR 97204
12

13

14                          2) United States Bankruptcy Court
                              1050 SW Sixth Avenue # 700, Portland OR 97204
15

16

17
     and by mailing copies to the above parties via 1st class mail, postage prepaid.
18

19            I declare under penalty of perjury under the laws of the United States
20   that the foregoing is true and correct. Signed at Irvine CA.

21

22
                  Dated 1-11-2021 __/s/ signed electronically___
23

24

25

26

27

28
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